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1             UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                    FOR THE DISTRICT OF COLUMBIA
2

3    UNITED STATES OF AMERICA           Criminal No.     21-cr-00092

4            v.                         Washington, D.C.

5    COUY GRIFFIN,                      August 9, 2021

6                   Defendant.          11:30 a.m.

7    --------------------------/

8                   TRANSCRIPT OF STATUS CONFERENCE
                  BEFORE THE HONORABLE TREVOR McFADDEN
9                    UNITED STATES DISTRICT JUDGE

10   APPEARANCES:

11   For the Government:         United States Attorney's Office
                                 By: JANANI IYENGAR, ESQUIRE
12                                   EMILY MILLER, ESQUIRE
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13                               Washington, D.C. 20530

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17

18

19   Court Reporter              Lisa K. Bankins RMR FCRR RDR
                                 United States District Court
20                               District of Columbia
                                 333 Constitution Avenue, NW
21                               Washington, D.C. 20001

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23   Proceedings recorded by mechanical stenography,
     transcript produced by notereading.
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1                        P R O C E E D I N G S

2               THE COURT:    Good morning, folks.

3               THE CLERK:    Good morning, Your Honor.      This is

4    Criminal Case 21-92, United States of America versus Couy

5    Griffin.   Counsel, please introduce yourselves for the

6    record.    Starting with the government.

7               MS. IYENGAR:    Yes.   Good morning, Your Honor.

8    Janani Iyengar for the United States.

9               THE COURT:    Good morning, Ms. Iyengar.

10              MS. MILLER:    Good morning, Your Honor.       Emily

11   Miller also for the United States.

12              THE COURT:    Good morning, Ms. Miller.

13              MR. NICHOLAS SMITH:     And Nick and David Smith

14   for Couy Griffin.    Good morning, Your Honor.

15              THE COURT:    Good morning, gentlemen, and good

16   morning, Mr. Griffin.

17              THE DEFENDANT:    Good morning.

18              THE COURT:    We're here for a status conference.

19   I see the government has also filed a motion to continue

20   earlier this morning.     Ms. Iyengar, what is the extent?

21              MS. IYENGAR:    Yes, Your Honor.     So I did just

22   want to sort of address the motion and address where we

23   are in terms of discovery.      So I wanted to just I guess

24   start by apologizing to the Court and to the defense for

25   the confusion that I completely caused at the last couple




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1    of status hearings which was based on really my

2    misunderstanding of the information that had been conveyed

3    to me by the discovery team from our office in terms of

4    the discovery for the overall Capitol riot investigation.

5              As I stated before, we have turned over

6    everything, all the FBI documents and the videos that the

7    FBI received from the individual records in the statement

8    of facts as well as the defendant's photo extraction and

9    the video of the defendant's interview with the FBI.             So

10   in terms of the contents of the FBI file with respect to

11   this defendant, the defense has had that and has had that

12   for several months.

13             So when it comes to the discovery piece for the

14   overall riot investigation, we did have a vendor come on

15   board on May 28th of this year.      Deloitte is the vendor

16   that we're using for discovery purposes here and our

17   office began transferring the discovery material to them

18   on June 8th.

19             We're working also with the Federal Public

20   Defender's Office to develop a database that all defense

21   attorneys across the country in these cases can use to

22   receive those materials in a format that is hopefully as

23   user friendly as possible and easily searchable for them

24   so that they can access these materials easily and know

25   which materials pertain to their particular defendant.




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1              In the next four to six weeks and we talked

2    about this a little bit in our motion, we hope to populate

3    the discovery production database that we have with the

4    Capitol surveillance video footage, body worn camera

5    footage and other materials that we've received from the

6    law enforcement agencies that were involved on

7    January 6th.   So that's kind of the status of where we are

8    and where we hope to be within the next month or month and

9    a half.

10             Our position has been and continues to be that

11   these materials are discoverable for the defense.          There's

12   potential Brady material in there.       We haven't actually

13   been through all of these materials.       So we don't know,

14   you know, what's in there to be able to say that there is

15   or isn't any Brady material there.       And so because the

16   defense is entitled to these materials, you know, we're

17   not really in a position to begin a trial without having

18   turned these materials over.

19             And I think it benefits the Court and the

20   defense to wait until these materials are completely

21   disseminated just because, you know, we won't -- at least

22   we can reduce the number of last-minute discovery issues

23   at trial and the defense should be able to determine with

24   relative ease what materials in that database are relevant

25   to their client and make use of those materials at trial.




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1    It should hopefully reduce the number of requests for a

2    new trial based on newly-discovered material.         So it will

3    just help, you know, the entire process go forward in a

4    more seamless way.

5              So based on all of that, it does serve the ends

6    of justice -- the government's position is it does serve

7    the ends of justice to toll the time between now and the

8    next 60 days.   We're asking that the time be retroactively

9    tolled from the last status hearing on June 30th.          But in

10   the alternative, we're asking that it at least be tolled

11   starting today for the next 60 days to give us a chance to

12   give the Court updates on discovery and hopefully in sixty

13   days be in a better position in terms of where we are with

14   discovery.

15             I also wanted to say that I spoke to Mr. Smith

16   yesterday and this morning regarding the plea offer that

17   was extended in this matter.      We are still in discussions

18   about a potential pretrial resolution here.         And so, you

19   know, we're still continuing that discussion.         Continuing

20   to toll -- exclude the time under the Speedy Trial Act

21   will at least give us an opportunity to continue those

22   discussions as well.

23             THE COURT:     All right.    Thank you, Ms. Iyengar.

24             Ms. Miller, I know you're the discovery

25   coordinator for all these cases.       I don't envy your job.




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1                MS. MILLER:   Nobody does, Your Honor.      Nobody

2    does.

3                THE COURT:    So, Ms. Miller, I guess a couple of

4    concerns here.    First, I appreciate what Ms. Iyengar says.

5    I actually don't think it was just Ms. Iyengar who was

6    confused.    I feel like I was hearing in various cases, you

7    know, back this winter, we need sixty days, give us a

8    couple of months and then it was we're going to get

9    discovery over in June or July.      Now I'm hearing in other

10   cases maybe early next year.      Ms. Iyengar hasn't even said

11   that.    I don't know if that makes me more or less

12   concerned than the early next year.       But, you know, this

13   is a defendant who the government had originally sought to

14   detain on misdemeanor counts.      And now it seems like

15   there's no end in sight on discovery and that's troubling

16   to me.

17               MS. MILLER:   There's a few points that the Court

18   has made.    So I'll try and address them.      And if I miss

19   anything, please let me know.      First, I apologize for any

20   confused messaging that's been provided to the Court or

21   defense counsel.    I think part of what may have occurred

22   is that there's been two sort of lines of approaches to

23   discovery in these cases.

24               First, in the first line, we are trying to make

25   sure that all defendants receive the discovery that is




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1    most directly relevant to their cases as quickly as

2    possible.    And that's most likely the type of discovery

3    that was being referred to when attorneys were

4    representing they would have discovery out in a short

5    timeframe like in the first 60 days or so forth.          So we

6    are making a concerted effort with all of our AUSAs to

7    ensure that any information that was used to support the

8    charges, any tips that we can identify that were directly

9    relevant to the charged defendant, any video clips that we

10   have identified already that may be directly relevant to

11   the charged cases, GO Fence location hits, tower dump hits

12   specific to these defendants are turned over by the

13   individual AUSAs in their cases.       And so that is the part

14   where we want to make sure the defense has everything that

15   we can find and locate that we think is most relevant and

16   that would have been used at least in part to support

17   charges, for example, before the grand jury.

18               Separate and apart from that -- and I think this

19   is where the confusion was happening perhaps in the

20   messaging to the Court -- we have an obligation that we

21   see as unavoidable to turn over exculpatory evidence to

22   the defense.    Because of the voluminous data that has

23   accumulated in this case which is not obviously the fault

24   of the government, it's just by nature, the nature of the

25   investigation and what happened on January 6th, a lot of




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1    information was generated even on January 6th.         The CCTV,

2    the tips, the body worn camera footage, all the phones and

3    devices that captured events that were occurring, the

4    phone calls that occurred, the text messages that

5    occurred, the posts that people made to their social media

6    accounts, have bragged about what they were doing, all of

7    that was created on January 6th.

8              So a lot of this voluminous data that may be

9    interspersed with information that could be construed as

10   exculpatory to the defense was generated on January 6th.

11   And processing all of that data is fraught with

12   technological complexities that are laid out in detail in

13   the motion that we submitted this morning.        And that's

14   what we are working expeditiously, as expeditiously as

15   possible to process in a way that we can transfer it to

16   defendants in these cases.

17             And we are simultaneously working with the

18   Federal Public Defender as was referenced moments ago in

19   this hearing to try and create a receiving database where

20   they can receive and search and store and catalog

21   development materials and thereby identify any material

22   that they believe may be material to their defense before

23   proceeding to a trial as we believe they are -- we are

24   required to provide to them and that they are required to

25   search before a trial can occur in these cases.




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1                I understand the defendant was initially held in

2    these cases.    Thankfully, he is not held now.       So that's

3    not a question we need to address today.        Were he we still

4    would not be in a place where the Speedy Trial Act would

5    require any kind of presumption of or, excuse me, his

6    constitutional trial rights would require any kind of

7    presumption of prejudice as presumptions of prejudice

8    don't even occur until the year mark.        But again this is

9    not a question we need to consider today because the

10   defendant is released.     And so I don't think that -- I

11   think there's enough to focus on here with all due

12   respect, Your Honor, without focusing on hypothetical

13   issues that could have been raised by misdemeanor

14   defendants' detention in these cases.

15               So I don't know if I've addressed all of the

16   Court's concerns or questions.      In terms of timing, it's

17   difficult to say with certainty when everything will be

18   ready.

19               I can say with certainty we are moving forward

20   on many fronts at the same time to ensure that as much

21   information is being considered and then processed as

22   possible.

23               Until the defense database issue is resolved,

24   which we are also expeditiously trying to do, it's sort of

25   a moot point because there is no way for the defense to




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1    receive the material that we believe they would find

2    adequate to searching given the volume that's involved.

3               Does that answer the Court's points or questions

4    or --

5               THE COURT:    That's helpful.     I guess two

6    additional wrinkles.     One, as I understand it, you are

7    continuing to arrest people and it seems like there's no

8    end in sight on that.     That strikes me that you are going

9    to continue to have new discovery issues that, you know,

10   three months from now you could arrest someone and search

11   his cell phone and have an interview with him where he

12   says that, you know, I saw some police officer beckoning

13   to me somewhere on the grounds and, you know, that's all

14   of a sudden new, arguably exculpatory evidence that is

15   applicable under, you know, potentially to however many

16   hundreds or thousands of defendants you have at that

17   point.

18              I mean this just doesn't seem sustainable to go

19   on indefinitely with the government continuing to arrest

20   and in fact generate new discovery material when you have

21   a defendant like Mr. Griffin who was arrested, you know,

22   days after the event.

23              MS. MILLER:    Well, with respect to defendants

24   who do wish to proceed to trial because Brady is a trial

25   right, the government as part of its discovery plan is




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1    intending to make sure that we have recurring systematic

2    searches of information in place on our side so that we

3    can continue to produce any information that might be

4    relevant that's accumulated between now and the time of a

5    trial.    So that is the best that we can do with that.

6    It's not unusual as this Court is aware for discovery to

7    be provided right up to and even through the time of trial

8    sometimes.    But I do think that 99.9% of the material will

9    be provided that could possibly be relevant.         The kinds of

10   items I was talking about that were generated and created

11   on January 6th will be provided well in advance of any

12   such trial.

13              With respect to the fact -- well, let me not say

14   that.    I don't know if that really addresses in total the

15   Court's point.

16              THE COURT:    So I mean do you think that I can --

17   can I not have a trial until you are finished arresting

18   all the people you intend to arrest on this?

19              MS. MILLER:    I don't think that that would be

20   accurate, Your Honor, because information we haven't

21   collected is not in our possession.        So if we haven't

22   obtained the phone, it's not in our possession and it's

23   not discoverable at this time.

24              If per chance some phone that's collected after

25   this trial is over turns out to contain some piece of




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1    extremely exculpatory actual innocence type of information

2    that's relevant to this defendant, yes, we will make it

3    available to this defendant and figure out the steps from

4    there.    But that's obviously not the situation that we're

5    in now.

6               THE COURT:    Fair enough.     So my second question

7    I mean more specific to Mr. Griffin is there's no

8    allegation that he did go into the Capitol building.              My

9    impression is the vast majority of the evidence that

10   you're collecting has to do with what went on there.

11              I mean isn't the delay here largely a result of

12   how the government is collecting information and, you

13   know, if you are able to exclude out all of the internal

14   surveillance cameras because they can't possibly be

15   relevant to Mr. Griffin.      All of the cell phone pictures

16   and selfies and whathaveyou inside the building because

17   they can't possibly be relevant to him.        It strikes me

18   that we would be -- have a much more a manageable size of

19   potential discoverable evidence that actually go to him on

20   a more rapid timeframe.

21              MS. MILLER:    Were that it were so, Your Honor.

22   I don't want to get into the specifics of things like the

23   number and locations of cameras inside and outside of the

24   Capitol only because of the security issues that have been

25   expressed by the Capitol Police about revealing that kind




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1    of information especially on a public court line.          But

2    that being said, I can assure the Court that there are

3    thousands of hours of footage from U.S. Capitol Police

4    surveillance cameras that are entirely on the outside and

5    the surrounding blocks of the Capitol.

6                In addition, the body worn camera footage that's

7    relevant may very well involve a lot of officers who are

8    outside and not inside the Capitol battling with or just

9    interacting with various rioters or protestors.          And there

10   would not be a really great way for us to separate out the

11   outdoor body worn camera footage from the indoor to the

12   extent that an officer went in and out of the Capitol, for

13   example, to take a break or get away from the fighting

14   perhaps because he had to clear bear spray out of his eyes

15   for a moment.

16               So it's actually more complex than just taking

17   the stuff that's on the inside of the Capitol and taking

18   and separating it away from the rest of the evidence.             The

19   phone calls and posts were all -- tons of them were made

20   outside of the building.      Our GO Fence warrants cover not

21   just the inside of the Capitol building, but also the

22   outside perimeter, the restricted area.        So there is no

23   easy solution of separating interior and exterior

24   evidence.

25               THE COURT:   All right.    So, Ms. Miller, it




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1    sounds like your bottom line is there is no way we can go

2    to trial any time in the indefinite future.

3               MS. MILLER:    I would say that the best thing

4    that we could do at this juncture is set a status hearing

5    in 60 days where I expect that we will tell you we have

6    made significant progress and hopefully, have a better

7    estimate of what would be an appropriate time to go to

8    trial.

9               I would say that setting a trial date any time

10   before January, it's unlikely we'll be able to have met

11   our obligations by that time.        I think whether or not a

12   January trial date could hold, I can't say with certainty

13   at this time because there's too many questions beginning

14   with the defense ability to receive and review the

15   evidence that we need to provide, but also obviously

16   dealing with complexities we have on our side of making

17   sure we process it in a way that's optimal for the defense

18   in the first place, which it takes time.         It's just not as

19   easy as pushing a button unfortunately and copying one

20   server over to another.      So --

21              THE COURT:    Well, you all aren't even working on

22   that.    Right?   You're not working on a defense system.

23   Correct?

24              MS. MILLER:    We are working with the defense.

25   We're having regular meetings with the Federal Public




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1    Defender to do everything that we can to ensure that they

2    are in a position to have the kind of database that might

3    be -- that could be used we're hoping by all of the

4    counsel, defense counsel in these Capitol breach cases.

5               So, for example, when we talk about body worn

6    camera footage, we meet with them regularly to say, well,

7    would you rather have it like this or like that, what

8    would be the best format, what would be the easiest way

9    for you to download it?      Do you want it with this

10   functionality or that functionality?        Do you -- would it

11   be better for you to receive it directly from the private

12   vendor that posts body camera footage or should we process

13   it through Deloitte?     These sorts of questions that are

14   complex in nature we're having these conversations with

15   them so that they can make a determination about what is

16   the optimal way that they want to receive it.         So we have

17   to know what the optimal way is that they want to receive

18   it in order for us to process it appropriately.          So we are

19   helping if that makes sense.

20              THE COURT:    Okay.   Thank you, Ms. Miller.

21              Mr. Smith, I know you just got this motion this

22   morning.   Certainly, I understand that it would probably

23   be useful to get some sort of written response from you

24   especially on the case law.      But I'm happy to hear from

25   you as to what you think we should be doing today.




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1               MR. NICHOLAS SMITH:      Judge, I think I can give

2    you a response, at least a preliminary one now, which is

3    that we agree with the Court that there is no -- the

4    government hasn't identified a limiting principle to the

5    Speedy Trial Act issue and that the other option to the

6    government was to not detain people pretrial or charge

7    them before the investigation was complete and they had

8    the time and statute of limitations to do that.

9               But with that said in this case, we agree with

10   Ms. Iyengar that the government has extended a plea offer

11   and that the parties are discussing it right now and

12   working through it.     And so one option for the Court here

13   might be to split the difference by not just routinely

14   granting 60 days in every case regardless of the facts and

15   circumstances, but perhaps tolling for a more reasonable

16   amount of time such as half that or a third of it.

17              But, you know, frankly, Your Honor, if the Court

18   is inclined to go ahead and set a trial date, Mr. Griffin

19   would be all right with that as well.        But, you know, now

20   that in the filing the government just made, Ms. Iyengar

21   noted that the government can't guarantee that there are

22   no videos, Brady videos out there showing police officers

23   waving and authorizing Mr. Griffin's presence where he was

24   or stacking barricades to kind of indicate that they are

25   no longer in place and we are interested in that type of




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1    evidence.

2                So, Your Honor, I think what's changed here from

3    the last year is the government has given us an offer

4    right now and we're discussing it.        So I think any -- you

5    know, we would be content with any option the Court

6    selects frankly on the Speedy Trial Act.

7                THE COURT:   Okay.   Thank you.    So what I think I

8    want to do is try to come back in about a month --

9    actually with my trial schedule, it will be a little over

10   a month -- to see where things are.        Mr. Smith, if you

11   want to file some sort of written response, you are

12   certainly welcome to.

13               Honestly, I'm not quite sure what to do.        I

14   don't really feel like this was a complex crime or a

15   complex case.    There are certainly extraordinary issues

16   here, but I do feel like some of that is because the

17   government decided to start arresting people right away

18   and has continued to arrest hundreds of people where in I

19   think other large scale cases, the government has decided

20   to focus on the worst of the worst or offer -- prefer

21   prosecution agreements or something like that to whittle

22   down the -- to make it a more manageable project.          And I

23   think Ms. Miller is kind of in an impossible situation

24   right now.

25               So I'm not going to rule on the motion to




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1    continue other than it sounds like there's agreement that

2    we should be tolling until the next status conference.

3    I'm not going to go back and toll the time since my ruling

4    on the motion to dismiss.      That has already run.      I think

5    that that has run in part based on the evolving

6    description of the status of the discovery from the

7    government.

8               How about September -- Monday, September 20th?

9    Let's say at 2 p.m.     Ms. Iyengar, does that work for the

10   government?

11              MS. IYENGAR:    Yes.   That's good for the

12   government.

13              THE COURT:    And Mr. Smith?

14              MR. NICHOLAS SMITH:      Yes.   It works for us, Your

15   Honor.    Couy, does that time work for you?

16              THE DEFENDANT:     Yeah.   Whatever.

17              THE COURT:    All right.    We'll set this for a

18   status conference on Monday, September 20th at 2 p.m.

19   Obviously, if there's a resolution and either party wants

20   to handle that in person, I would certainly accommodate

21   that.    And if there's a resolution, I would just ask the

22   parties to inform me in providing paperwork the week

23   before.

24              I do think it's appropriate to toll time until

25   then.    I think for one, I think it will probably toll as a




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1    matter of course under the statute in light of the

2    outstanding motion here.      But in any event I think for the

3    reasons that have been stated here related to the ongoing

4    discovery and the negotiations, it is appropriate to toll

5    the clock until then.     And I find that the interest of

6    justice outweigh the interest of the defendant and the

7    public such that all be tolling from now until

8    September 20th.

9               Ms. Iyengar, anything further for the

10   government?

11              MS. IYENGAR:    No, Your Honor.     There's nothing

12   further.

13              THE COURT:    Mr. Smith?

14              MR. NICHOLAS SMITH:      No, Your Honor.     Thank you.

15              THE COURT:    Thank you.    And, Ms. Miller, I

16   appreciate your presence here today.

17              MS. MILLER:    Thank you, Your Honor.

18              THE COURT:    Good to see you.

19              MS. MILLER:    You, too.

20              (Proceedings concluded.)

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1                    CERTIFICATE OF REPORTER

2

3               I, Lisa K. Bankins, an Official Court Reporter

4    for the United States District and Bankruptcy Courts for

5    the District of Columbia, do hereby certify that I

6    reported, by machine shorthand, in my official capacity,

7    the proceedings had and testimony adduced upon the status

8    conference in the case of the United States of America

9    versus Couy Griffin, Criminal Number 21-CR-0092, in said

10   court on the 9th day of August, 2021.

11

12              I further certify that the foregoing 19 pages

13   constitute the official transcript of said proceedings, as

14   taken from my machine shorthand notes, together with the

15   backup tape of said proceedings to the best of my ability.

16

17              In witness whereof, I have hereto subscribed my

18   name, this 11th day of August, 2021.

19

20

21                                     Lisa K. Bankins

22                                     Lisa K. Bankins
                                       Official Court Reporter
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